Case 2:18-cv-07263-WFK-SJB Document 46 Filed 04/07/20 Page 1 of 2 PageID #: 383




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


  Sapphire Crossing LLC,
                                                                Case No. 2:18-cv-07263-WFK
          Plaintiff,
                                                                Patent Case
          v.
                                                                Jury Trial Demanded
  The NPD Group, Inc.,

          Defendant.


                                   NOTICE OF SETTLEMENT

        The parties have reached an agreement in principle. The parties expect to dismiss this

 matter within thirty (30) days, immediately after the performance of settlement obligations.

 Accordingly, the parties respectfully request the Court stay any deadlines in the case for thirty (30)

 days while the parties finalize settlement and file dismissal papers.


 Dated: April 7, 2020



 /s/ Isaac Rabicoff____                                /s/ Matthew C. Bernsten___
 Isaac Rabicoff (No. 6313775)                          Matthew C Bernsten
 Rabicoff Law LLC                                      Fish & Richardson PC
 73 W Monroe Street                                    One Marian Park Drive
 Chicago, IL                                           Boston, MA
 (773) 669-4590                                        (617) 542-5070
 isaac@rabilaw.com                                     berntsen@fr.com

 Counsel for Plaintiff                                 Counsel for Defendant
 Sapphire Crossing, LLC                                The NPD Group, Inc.
Case 2:18-cv-07263-WFK-SJB Document 46 Filed 04/07/20 Page 2 of 2 PageID #: 384




                                CERTIFICATE OF SERVICE

        I hereby certify that on April 7, 2020, I electronically filed the above documents with the

 Clerk of Court using CM/ECF which will send electronic notification of such filings to all

 registered counsel.



                                                     /s/ Isaac Rabicoff
                                                     Isaac Rabicoff
